Fi|i“§ il €€éi§@lé).??-§lzlotle@élé'i@@f€;@/l7|93¢&§§§&}154 i=iied 07/19/17 Page 1 or 22 PageiD 25

FORM 1.997. ClVlL COVER SHEET

The civil cover sheet end the information contained in it neither replace nor supplement the filing and service of pleadings
or other documents as required by law. Tilis form must be filed by the plaintiff or petitioner for the use ofthe C|erk of
Court for the purpose of reporting judicial workload data pursuant to section 25.0?5. F|orida Statutes. (See instructions for

completion .}

 

l. CASE STYLE

lN THE ClRCUIT COURT OF THE TWEN"I`[ETH JUD|ClAL CIRCUET,
|N AND FOR LEE COUNT‘¢’. FLORIDA

 

 

Ca$€ NO.I
Judge:
Di ego _.»'\rboledzt
Plaintiff
vs.
State Fitrm Automubile insurance Compzuw
Defendant
ll. TYPE OF CASE
§ won-homestead residential foreclosure
§ Condominium 5259\90 OF more
§ Contracts and indebtedness § OU\€F l' 931 PFOPEFW aciiOnS $O ' $-5€‘,000
§ Eminent dcmain § Other real property actions $50,001 - $249,999
§ Auto negligence § Other real property actions $250,000 or more
§ Negllgenl:e - other > _
5 Business governance § Professlonal malpractice
E Business torts l_l l'.'lalpractice -- business
l_l Environmental."`l'oi<ic tort g Ma|practice _ medical _
§ -I-hird party indemnification ` § l".-lalpractice ~ other professional
l"i Eonstruction detect g Othe" v '
m Mass ton § Antltrust.fl'rade Regl.ilatlon
E Negh~gem Securiw § Business Tre nsectiori
LJ_\ Nursmg home negligence § Circuit Civil - Not App|icable
ij Premises liability - wmmercial § C°F‘S“tu“°"a' °h"'"€"ge'$’~`at“te °’
§ Premises liability ~ residential °‘°'"a_"°‘_a
g produms liable § Constltutlooel challengeproposed
'_ ' ' amendment
§§ Re-:a| Property!lt~‘lortgage foreclosure m Corporate Tru$ts
g COmmemial gore closure 30 ` 550'00':' § Discrimination-e mp|o)'ment or other
§ Comrnercial ioreclosure S:G,t][lt - 5249,999 g insurance simms
§ Commerclal rorel,losure SoEU,thG or more g lmenectual properly
§ :ornesteao residential foreclosure 32 -,50,000 g Libeusiander
§ $Qo£r;ge;;;ao residential foreclosure $.JO:DU‘| - g Shareho|der derivative action
_., 1 _ . [:| l \ . . i
l__`l l*lornesteao` residentlal foreclosure $250.000 or ** Secum'es |mgat'on
more § Tra de secrets
§ hixon-homestead residential foreclosure $0 - § T""St l't'gat'°n
Seo,ooo
§ l\lon-homesteao` residential foreclosure

550,001 - $249,999

 

Case 2:17-cV-OO406-SPC-CI\/| Document 1-4 Filed 07/19/17 Page 2 of 22 Page|D 26

COMPLEX BUSINESS COURT

This action is appropriate for assignment to Complex Business Court as delineated and mandated by the
Adlninistrative Order. Yes § No §

lll. REMED|ES SOUGHT (check all that app|y):
.`T'“Q Monetary;

§ Non-monetary declaratory or injunctive relief;
j Punilive

iv. NuivlaER oi= cAusEs oi= Acnoi\i;l i
tSpeCifv)

V. IS TH|S CASE A CLASS ACT|ON LAWSU|T?

V|. HAS NOT|CE OF ANY KNOWN RELATED CASE BEEN FlLED?

X‘ No
§ Yes - |f “yes" list all related cases by name, case number and court

Vll. lS JUR\’ TR|AL DEMANDED |N COMPLA|NT?
Yes
No

||_| list

 

l CERT|FY that the information l have provided in this cover sheet is accurate to the best of my knowledge and belief. and
that l have read and will comply with the requirements ot Florida Rule ofJudicia| Administration 2.425.

Signature S.~" Gregg M Hollandcr FL Bar No.: 9?3350
Attorney or party (Bar number, if attorney)

Greee M Hollander Ut').»"U‘J.-’Zt)l 'i'
(Type or print name) Date

Fi'i"e ii §'é§@li???-i§rbd@ddl§i$)@§e®i 7@3¢3%§@[|154 i=iied 07/19/17 Page 3 or 22 PageiD 27

i`.\` THE Ci_R_C l_ll"i` COl_|R'i` 013 THE 'lt`t'l`ii
.i`[_i'DiCiAl. CIRCI_HT lN r‘\Nl') FGR.
L-.EE C.QUN'[`Y, ]"L;ORI'|;)A

CASE NO.
l')l'i?.(`it? .~"\.RBO[.EDA,

Plaintii`t`,

\"b` .

S"l".i\rl`F, F A R i\¢'l Ni[.i'l`UAL rt UTO iv'l 0 ii i l . l§€
[NS l_l KA\NCE. C()l\,"ll-‘A N `Y' .

Dei`endnnt.

 

CUMI’LAI'NT ITOR D.¢»\NIAGES AND
DEI‘¢|AND' FOR 'I`RlAL BY JU]'{Y`

COMES NOW, thc P.|aintit`t`_. Dl'i`iGO ARB()LEDA._ bj,-' and through his undersigned counscl_.
and sues [)et`endant, S`T.»'XTE FiiiRM .\"IUTUAL .r"\._l_JTOi\iiOBlLl~i lNSU[{ANCE COi`\/H’r\i\T‘i"
(iict‘cirtede.l‘ referred to as “STA”E"E FAR_l\'i”:i, and in support thereof alleges as toliows:

l. This is nn action for damages in excess ot`$l 5,00(].00, exclusive oi` interest and costs

2. Plninl:iff, l)lEGf) r\RBO[.l-“~.DA, is a resident ot` Lchigh Acrcs, Lcc Cotlnty_. Florida_.
and is_. otherwise .iz.lr'jzo‘r's.

3. l')cf`endant, STA']`E. FARt\/l._ based upon information and be|_iet`_. is a corporation
organized and existing under laws of thc State ot" lllinois, and was at all times mentioned heroin
qualil‘ied to do and doing business in lies Cot.int}~', Fil',)rida, and has substantial business contacts
agents aan a base of operations in l.ee Count;.~', Fiorida.

4. Dc.`endant_, STATE F.ARM., through irs subsidiaries and zift"iliates_. provides
automobile insurance services and is authorized and approved to write automobile insurance in Lee
County and thc Stutc oi` Florida.

5. Thc motor schich accident in Suit occurred in lehigh Acres._ L.ee Countj,~', Florida.

J

Pngcio_fi

 

Case 2:17-cV-OO406-SPC-CI\/| Document 1-4 Filed 07/19/17 Page 4 of 22 Page|D 28

o. Dn or about October lU, 2til(i, at approximatel),-' i":i`ii) p.m., Ge.orge Alien Pe-rcifield,
not a party to this case, otvned/"leased and operated a 2008 l_londa automobile traveling north on l-Sell
Boule\-‘artl at or near the intersection of Grant Boulevard in Lehigh Aci'es, lsee County_, Florida.

'F, On or about (.)ctober lti, 2'[]165 at approximately ?:5(] a.m., ]’laintit:t`._ D[`EG(`)
r~\_ROBLEDA, was operating a 2013 Dodge Ram, traveling north on Bell B¢.i)ulevurd attempting to
make a left turn onto Grant ll:ioulevard in lehigh Ac.res, [.ee County', F'|orida.

R. At that time and placer Gct)rgt: ."\llen Pereiiield negligently operated and.#`or
tmtintained the motor vehicle he was driving by attempting to pass oats in front o'l` him in oncoming
tt'attic striking Plaintitt`, DlEGC.) .-‘\RBULEDA’$ vehicle as l’laintift` was attempting his left turn.

9. At the time ot` the olbretnentit')ned accident on or about October l(l._ 2016, George
Allen l’ercit`e|d had insufficient bodilyl injury liability coverage to cover the value ol` the damages
sustained by Plaintil"l`, DlE-GO .'~\RBOLEDA. ln t"ac~t_. he had bodil)ll injur_\,-' liability policy limits ol`
$50,00(} per pcrsonf.‘il€l(],t]tit) per occurrence which was tendered to Plaintit`t`, DlEGO ARBOLEDA
on Junc "?`_. ’Attl".»’.

l[}. At the time of the aforementioned accident on or about October iC', 2016, there was a
policy ot' insurance in t'uil t`orc.e and et`i`ec.t issued by ll)et"endant1 S'l`.»\'l"E Fr‘ti‘\l\»l._ through its
subsidiaries agents and.for at`tilietcs_. to Plainti_t`t`, Dl_l`:.GG r\,RBOl,l"iGA. Said policyr provided
coverage to l}ltaittt.il’l", DU§GO .»\RBOL.EDA, which included uninsured.-"undcrinsured motorist
coverage

l.l. Pl.'lrsuant to the terms and conditions ol" the insurance policy issued by l')ei`endant_,
ST.'~'\'“l`E `FARM,, through its sitbsidiariest agents andfor affiliates providing uninsured.-"undcrinsurt:d
motorist coverage to Plaintit"t`, DIEGO .ARB()LEDA, Det`endant, S'l"i*t`i`l:`. l"AR.Nl, is also therefore
liable t`or all compensatory damages exceeding Georgc Allcn Percit`c.|_d’s liability coverage

ll Plaintit`l", DlEG() .-'-\RBGLl_"-DA, as complied with all conditions precedent to the

bringing ol"t.his action pursuant to tbc policy of insurance issued by Det`endant_._ S'l`A'l`H l-`.'»\R_t\'t.

Pu.ge 2 o l" 3

Case 2:17-cV-OO406-SPC-CI\/| Document 1-4 Filed 07/19/17 Page 5 of 22 Page|D 29

|3. A.s a diri:ul and pi~nxiinuu: result of the negligence of Genrge Al!en Percif`eld,
Pluintil`l`, DlEGO ARBOLE`-D.»-‘i, Sul"l`ered pennnnent bodily injury and resulting pain and Sufl`ering,
clis;ihilit§\'. ~:lisligurmneni, loss ul` the capacity i`ur l.lie enjoyment of life, expense of hospitalization
medical and nursing care and lreuunenl, aggravation n'l` a previoust existing condition ande"ui‘
activminn nl` a lawn condition s‘-\s these injuries are pci_ini-'mi:nl. and continuing l"luintif`f_. DlE.GO
.»"LRBOLE~DA, will continue to suffer said losses in the i"unn'e. 'l'lie value ol` PlaintiFi‘S damages
exceeds any liability insurance insuring Genrgc s\.]lcn Pcrcif`nlcl. Tlmrnl`nru, Duli:ndunl, STATE
FARM, is liable for the cxccss.

"'.Vl~l`E~REl"ORE, l’laintii"i",1 l`)lEGO M{BOLEDA, demands judgment l"nr damages against
De.["endanl, S`l`.»‘i‘\'l"l§ F;-\ R,M l\fll,)"'l`lli.#\,l_,, .Al,l'l'()l\."lOBl,l_,.~l`; .lNSl_.lRANCl;`~ COl\'lP;'\N Y, and demands a
trial by jury n[`ul] issues su triuhlu.

big 4

Dz‘:l¢d this <l' clay ul`.lunc, '.L'Ul?.

Tl-ll.". l_-lOl.,.l.ANDER LAW FIRI\-'l_. F.;'\.
Alt`ul'ne}-'.s fm [’laintifi`

`?‘Of,ll] Wcsl Palnictlo Parl< Road, Suilc 500
Bnca Racnn, Flnricia 334.")3

[561) 347-???[} - telephone

l;:')él) 347-9929 - facsimile

Primai‘y: Ghnl i andei"@hnl lan derl awfi rm.cnm
Secnndzu'y: mny:jc:zlhollanglerla\,'vtir:n.eom

  

B-Y: ,. .- !,,r_ :':;./»
c'iiu;c'in r\.-i. 1-1<)1_..1,,-»'&1~1 D_F.R
FLORIDA BAR NC).: 9?3350

 

Page 3 nl" 3

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ll\l T‘HF. C`.`.lR(`.`l__ll'l` CC)lll\*."l` OF THE Z{l'l`l~l'
J`[.lDICIAL- ClRCl_l[`l` lN Al\l D l*`OR
LEE C.`.'C)Ui\lrl"Y, FLORID."-\

C.T ASE NO.

l".lll“"..(i() ARB (:) l__.F;l*JA;

Plaintifi`,
vs.
S'l`.~'\t'l'l§ _l;".#\l:{l~"l l\#lUTAL AUTOMOBH.E
ll\'S UR.-"\N CE COMPAN Y,

Del'end:-lnt.

,f"

PLAINTIFF NOT[CE OF DE»SIGNATION OF I_"L-.\'IAIL s\I]DRF.SSES

(_`.Ot\rll;'S NOW, the Pldintill"_. by lind dimug.h the undersigned counsel, and in compliance
with l"ln.l‘\..`lud.Admin. 15 16, hereby gives notice that the following e-mail addresses are designated
for service \'Ji`court dncut_nents in the ahnve captioned maittcr:

.l"rimzu‘y e-nwil: Ghnllunclenfi_ij;ht)llandet‘lawfirm.com
SCCrlint'l ai.'y c- mall: A,m}-"@hn l landerinwi`mn .cc)n'i

l l~ll§l{lI-B ‘1" CERT[["Y that 21 true and correct copy nl` the t"dregoing has been served with the
Cc;)mplaiinl hcrcin.

Tlll§. §l;l(:)l_,..l_.ANDF.R l..AW Fl`R`l\#l; P..)'\..
s-‘tttnmeys for Pluintit`t"

T(ll)(l West Pnlmettc) qu'k Rdad, Suit<: 500
Bncn Raton, l"lorida 33433

l~"nnne: 561-34?-?'?70 5 Fix§;_: 561~347-9929
Pl'imary: G'iiol|ander@h`dllnndei'lawfirm.cnm
Secdndarj,': Amy@didllnn_dé`ilawlimi.com

Af`;.:';`-~‘
; `/./;_"
me ~ . v §

n R 13ch r\»t. i-i<,")llii,-\l\" limit "
Fl.ORiDA B.».tR Nc).; 9:'3350

 

Fill"t§ ii €*,B§@'é].?i-§vloli§€idl@lgéiéli/l il§§cf§i§i§@rliM Filed 07/19/17 Page 7 of 22 PagelD 31

[N Tl'll;`.‘. CIR.CLE[T COURT C)F THE ?.UTl'l
Jl_FDICl.»'-\L CIRCUIT IN AND FOR
Llélli C(:)l_iN'l'Y` P`LOR|`[).A

CASE NO_ 17~CA-001925
DIEGO ARBOLEDA.

Plaintit`t`.
xs.

STATE FARM ?\-'ll.lTAL AUTOMOBILE
lN SURANCE COl\'l PA l\l\",

Det`endont.

 

SUMMONS

THE STATE- UF FL.ORID.-\
TO EACH SHERIFF (JF THE STATE:

YOU .ARI£ CO l\~'l`l‘\-Ml N‘DED to serve this SUI\=| l\-10NS and a copy ot` the Colnplztint in the
above styled cause ol` action upon the Det"endant:

S`TATE FARM l'VlUTl,lAL AU'I`OMOBILE INSURANCE COM PANY
cftc Flt)rid:l Chicf F`im\nci:t| Officer, as chistnrcd Agent
200 Eztst Gaines Streel
Tallalmssee, Floridz\ 32»399-4201

The Det`endant is hereby required to Scrt-'e written defenses to said Comp|aint on;
GREGG M. I-IOLLANDER` ESQUIRE, Plaintit`i`s oounsel, whose address is 7000 West
Palinetto Parl< 'Rozld` Suite SOC', Boca Raton\ F|orida. 33433, within twenty (`20`} days after
service ol` this Summons upon you, exclusive ot`the day ot' service and to file the original of" said
written defenses with the Clerk ot" said Court either before service on Plaintit`t"s counsel or
iiitriiecliatel_\-' thereat"tei'. lt` _\;'ou f`ai| to do so, a default will be entered against you t`or the relief
den'ianded in the Coinplztint.

DATED this da_\_,r of` 06/'12.'2017 , 2017.

l_lnda DOggeii As C`.|erk ot`rhe Court

     

B_vi.'_v_`___.,… .,2,_ _,_ 222
As Deputy Clerk

Fil"“e ii §§i§§ lz?Y?'-§r-Bli§ddl§i@@f"eil/i7@3¢3§1`@'¢9[ final Fited 07/19/17 Page 3 of 22 PagetD 32

T\' THE ClRCljl'l' CO'[_[RT Ol" 'l`l-ll`;` EGH~I
IUDIC.`I_#'\L ClR(_`.fi_:’l`l` _lN Al\"’l) l"(_`)R
LE-l§ CO`L|NTY; FLORIDA

ease Nr).
breen antai)t..tzr).-\, ~

Plaintiff_.
ve

~S'l'.»‘i`l`l$ l"`.t\i{‘.\d `t\.~lUTAL AU'TOb-'TOB~ILE
lNSURANCE CTONlPi'LN ‘1’,

De.l`endent.

 

REOUEST FOR M}B'HSSIONS
COMES N()W the P|aintit`t`, DIEGO ARBOLEDA, by and through the undersigned
atu)mey, and pursuant to li'lorida Rule nt" Civil Proeedure 1.3'7"0, serves this Request for
.»'*~.dmissions upon De.t`endant, S'l?.'~‘t'l`l;€ l~`.@\ R_i\,"l. h-'Il_l"l`[_iAL A`L"TOI\»IOBILE INSURANCE
(I:(_`Jl\/ll’.¢tN\“' (hereinat`ter referred to as “S'l`:\`l`l_i l"ARi\/I”}, who is requested to admit er deny the
|i`e| lowing allegations:
l. `l'lt:-it on or about Oetuber l0, 2016 Pleitltift`, Dl]l(j(_) .M{BOLEDA, was insured
under an automobile liability insurance policy issued by De‘r`endant, S'Ti~'\'i'[€ FARM.
2. Tbat the policy issued byDet`endt~utt1 STA"I`F. FARM, was in t`ull three and effect
on Oc.tober 10, 2016.
3. That the policy issued by Det`endant, STATE FARl\-'l, to Diego Ai'|;)oleda,
contained uninstn'ed.."underinsured motorist coverage with limits ei"3100,000/"$300,000.
4. 'l`bat Plaintift`, CII:RTSTOPHER ARBOLE.D.¢\_, was entitled to uninsured motorist
coverage under the policy of insurance issued by Det`endant, STATE. FA'R.\»'I, to l_`)iEGO

.-’\ RBO Lli`.D.A.

Case 2:17-cV-OO406-SPC-CI\/| Document 1-4 Filed 07/19/17 Page 9 of 22 Page|D 33

5 That Plaintii`l`, DIEGO .»'XRBDI_,IE.D,L has complied With ali conditions precedent
pursuant to the policy issued by l)el`endattt, STATE` 'F`A_Rth"l.
l I"IEREBY CERT[FY that a true and correct copy o’|` the tin'ego.ing has been served
with the Compluirtt herein

THE H(`)lil.ANl~)F.R l_.-AW Fl.R_M, l).A.
At`torney's l_`or Plaintil’_i`

TOOG West Palmetto Pnrk Road, Suite 500
Beca Raton_. l"lorida 33433

Phnne.: 561~34?-?7"'?0 | Fax': 561-34?-9929
i~"rimnry: Gbolliltt<'let':f_ci;tltellanderla,w'linn.coin
Sceondarj¢': Amy@hollnnd‘erla»\"iilm.Com

 

GRE.GG M. .'I-rot,t,ANr)ER
t-'Lot‘<n)A nan No.; s)r;ts§t)

 

:Page 2 ol"?_

Fili“g ii §Z§Q Yi)i"'_<l;v'/Z§lilt?éle@§t§l§)-"'§i\)/tl 75&§¢?1&9 li’M Fited 07/19/17 Page 10 of 22 PagetD 34

li\l THE CIRCL_|l`l" COURT OF THE 20'1`1-1
JUDICIAL CIRCUI'[` I_\l Ai\"D F(_)R
l'.~l":l:`, C(:)l§i\i"l`\"', Fl.,OlUDA

Cf.'-\SE NO.
D|li(_it`} Al{l%(',)[.l*§l).-'X._

P|ainti 511
v's.

STATF FARM' i\¢iUTAL AUTGMOBILE
INSUK»'\NCl-_". COMPAN Y,

De l"e ndant_
/.

NOT[CT`E OF -SERV[NG FIRS'I` lN'l`ERROGA'I'ORIES ’UPON
DEFENDANT~ ST.-_'\"l`ltl F`ARt`\/'I M Ll"l`l_iAL Al.iTOMOBILE INSURANCE~ COMPANY

coates Now rae Ptaiarn‘r, t)_tt:o<;) annot..t~".r)as by ina through the undersigned
counsel, and pursuant to Floridu Ru]'e.s ol` C.ivi| Proeedure, R,ule l.340_. hereby propounds his
First interrogatories upon Del"endant, SI`ATE F_»'-\RM MUTUAI_. Al_.l'l"()'t\/l'OBiLE lNSURA'NCE
COMP.-"ti\l `1"_. to be answered under oath and in writing_, on or within lony-live {L'l-§) days from the
date oi` service o l` process
l HE-l'\’EBY CERTIFY that 3 true and correct eop}" of the foregoing along with the i"irst
'Interrogatories: have been served with the Contpleint herein
THE l-l(_`tLLr-\N|)]jl{ i_.A W l"l_RM, P.A.
Attorneys l`or Plaintil"l`
i"'i'}UU West lei,metto Parl< Road: Suite 500
Boea Raton, Florida 33433
Phone: 561-34":'-777{3 i l?g:~:: 561-347~9929

Primary: Ghollander@.iiol]anderia‘a-'tirm.eotn
Seeondary: .Am§-'@;h_ollartderla\'vl`trm.et'mt

 

GREGG i\-t.»-'H’otit._».\NDeR
t"~'LotoDA BAR_ No.; ,?3350

 

Case 2:17-cV-OO406-SPC-CI\/| Document 1-4 Filed 07/19/17 Page 11 of 22 Page|D 35

[‘~_>

3_4-..'»

FIRS'I` INT]§RR()GA,T{}Rl[".S TO l)EFF.`-N DAN"[`.
S_']`AT__E FARM l\'l`UTUAL AU'I`OMOBILE INSURANCE COMPANY

Whai is the name and address of rhe person answering fhes.e inten'ogatoiies, mid, i|`

zi.pplical_ilej the pers_=.on's mineral position or relationship wilh thc party to Whom the
hilerrogatories are dime-ici `?

[l` you are answering for a c.orporation, is said corporation named correctly in the
Complainr‘.’ ll`notj please mate Lhe correct name and oun‘cut registeer agent and address,

Slziie. ihe names and addresi;es o[" inc Prcsidc:nt, ‘v"ice Presiclent, Scc.i'ctary, Tre.asurer and
all officers ofszlid corporation

P]ea:se stale your nzune, current address and telephone m.nnber, and if you are answering
for Somcone elser your official position

Case 2:17-cV-OO406-SPC-CI\/| Document 1-4 Filed 07/19/17 Page 12 ot 22 Page|D 36

5. State the policy number, types ol` coverage and limits ot` each type o|" coverage including
deductibles i`or each and every automobile insurance policy in i`ull force and effect issued
to the Plaintiff or available to thc Plaintift` by virtue of his-"her)"their relationship to any

insured under any policy ol` insuranoo_

6. Were Per$On:-ll In_jur}~r l’l'oteotion benefits paid out under the above policy as a result of
the incident complaint herein if your is in the affirmative please state the amount that
was paid and to whom this amount ‘.~\"as paid

"“ Was a demand received against Det"r;nrtnnt or its z gcnt:s for underinsured motorist benefits
on behall"ol,` the l’laintii"l"?

S. Was said demand against Det'endaut in an amount equal to the policyx limits afforded to
Plaintii"t`?

Case 2:17-cV-OO406-SPC-CI\/| Document 1-4 Filed 07/19/17 Page 13 of 22 Page|D 37

9. Stale the facts upon Which you rely for each allirmati‘v'e defense in your answer.
ltJ. li*lease identify each person, corporationj entity and.\"or organization who the l:)et"endant

contends share a percentage of fault for the accident alleged in the Complaint, but who is
not named in the Comp|aint. For each such person, colporation, entitj,r and.-"or
organization, state why they may be negligent

ll. l.is:t the names and addresses ol` all persons who are believed or known by _\,"ou3 your
agents or attorneys to have any knott-ledge cel'iceming any ot` the issues in this lawsuit
and speci_t`j,~' the S.ubject matter about which the witness has knowledge

_.. Hai-‘e you heard or do you know about any statement or remark made by or on behalf of
any party to this lawsuit? lt` So, state the name1 residence address and telephone number
ol"` each person who made the statement or atate, the natues, residence address, business
address and telephone number ol` each person who heard it, and the date_._ time:` place and
Substance of each Stateinent.

Case 2:17-cV-OO406-SPC-CI\/| Document 1-4 Filed 07/19/17 Page 14 of 22 Page|D 38

l_"). Stntc thc nan'tc and addrch cf cvcr}-‘ person known to ynu, your agents or attorneys who
tins knowledge abn\n, or pcsscssinn, custndy, ctr control cr amy modcl_, platt, nmp_,
drawing motion picttn'c_, video tn];>c._ cr ]_)ltotngraph{$') pertaining to any fact cr issue
involved in this controversy and describe ='is tc cach, what such person has, the name and
zicld'rcss cf the penton who tnt)lc cr prc:pai'ccl it_i nntl the date it was tn|ccn nl' pt'cp:-lt‘ctl.

14. Plcnse state your bnsis: it` any, that the l`)l:-ti_ntifl:` Wa$ not Wearing n scatbelt, that there Was
:-tn a'."ailablc and operational Scatbclt, that thc injuries sustained by Plainti[`l` would not
have bccn ns great had the Platintilil" been wearing the sent belt and how the lack cf
Wem'ing a scatl)clt ccntril_itttccl tn the occurrence Ot`this nccitlcnt.

,_
lJi

Dcscribc in detail each nut or omi>a.~_;it)n nn the part of the alleged toltt`easot‘ you contend
constituted negligence that was a contributing legal cause cfthc accident in question

lti. Desci'ibe in detail each act or omission on thc part cf thc Plr-lintiff you contend constituted
negligence that was a contributing legal cause cl`tltc accident in question

 

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l?. Dc you intend to call any expert witnesses at the trial nl` this case'? ll` so, please state as to
each witness the namc, business nddrc-:ss, and telephone number of the witness, the
Witncss‘ qualifications ns tin expert the subject matter upon which the witness is expected
to testi_l`y_. the substance cf the facts and opinions to which lic.)"shc is expected to testify

l understand that l utu swcatring or nl`linning under oath to the truthfulness of the
Answcrs to First lntcn'o_gntories.

 

lN 5 URAN C` ll C 0 lt-'LP;'\N Y

S'l".-'-"iTE. CJF FLORIDA `)
Cit')l JNTY (`)l" l

BEFORE MF,, the undersigned authority personally appeared STATE FARM h~l‘U"l`l_t../\L
.»‘-\.l,l'l'(_)t\'l()BILE INSURANCE C.OMPANY. th, after first being duly swot'n, deposes and says
that **HE.~"SHE** executed thc foregoing i-'anu~'crs to t"irst interrogatories and they arc true and
correct to the best of his linowlcdgc.

V»"l"l`t\"l'iSS my hand and ol"l`iciu] seal , this day of _, EOl?.

 

Nt')'l`_-“~`tRY PU B L-IC

`;\."ly Conuuission l?x])i,l‘esz
Cl personally known to tn<:; or
ll produced thc t"t)llt)v\-'ing identi liczition:

 

Fi'i“*@’. “‘iéd§@' igl%zcE/Iiieisib@§¢i@'i@i)ll?&%@r§éiii :l)§l§ti Filed 07/19/17 Page 16 of 22 PagelD 40

|N THE ¢`f,‘lRCl_ll'l`l C()URT O[" lH.E ZU"lH
.lT_.lDl(_".~l_-L‘tl.A ClRCl_J` l`l` h\l A.Nl) F(_)l{
l'.,EE C,`.Ol_.tl"i'l""r', FLOR]DA

CA$F \"{).
l') l |-.('i{) .-"\.l{l`§(`)L.EDPi.

Plztintifl:.
\.-'s.

ST.ATE FARM l\-'P[ITAL AUTOt\-'iOBll,l?i
li\l 55 U`.R_.r\ NCE. (:f?l:)l\“ll’ r-X ..\l"r",

l)e l"cnclsnt.

 

RE~QUEST TO PR()[)UCE '1`0 _l)_l_illi’flllNIJ.-\N"l`

C(_J l\'ll:fS i\(')W Plail.itiff, Dll§';(:i(`) .+\RBC)LEDA, by and lln‘eugh the undersigned counsel,
and pursuant to the R'ules ol` Civil Proeedurc, requests that the Dcf`endant, S'l"r-\'l'll. l"ARl\/i
h~il.l"l"lfr\l. .i\l.l“l`Oh~'I(JBILE INSURANCE COhrlPAN`r", produce the following documents
within l`orty-li\-'e {=l:’~.') days from thc date of service of process

1. Copies ol` each and every insurance policy in t`ull t"orce and effect which insures
the Plsintit"t` as described in the (ffomplaint.

2. A_ny and all photographs taken by the Dcfcndnnt, Dei"enclant's tittornc;.\', or
i.n’v'cstigntol"S_1 agents .set"."ants7 or employees alter the incident referred to in the COtnplaint which
tire in any manner related to the subject manner of this litigation

3. Co])ie-s ol` all medical and hospital reports end records received by l:)et`endant,
Dcl"cndunt's uttot'ncy._ investigators ngcnts, set'\-'ents, or employees l;`rom doctors, physicians
l`tteilities, or tuiyonc else who has rendered treatment to the Plsintit`t` for injuries incurred as at

result of the incident which is the subject matter ot`this litigation

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4. ,'-\in}-‘ and all statements taken in any form or medium cf communication cf the
PlaintiH`.
5 (:O_uies ch"` any and all statements l`rr)m persons l<m)wn:. believed 01' alleged to have

witnesses the ccc.urrcnccs alleged in Plaintift"s ccmplaint.

6. Cio}_'.\ies 0|` any amici all statements f`rc)m persons lumwn: belie\'.-'ecl'1 or alleged 10 have
knowledge cr discoverable t`zic.ts cr information

".7

Copies u'|" all iu\."esligutive reports in any form Or medium Ol" Colnlnunic'ation

relating to thc subject matter 0[` this litigation

S. ljlwtc)gr&p.hs depicting Pluintil"l’s prup€rt_\_" damage sustained iri the Subjcct
accident.
95 An}~' and all phcmgr:»lphs c t1 the accident scene_

]t}. All repair hills anrl.-"or estimates of l’laintiff`s property damagc.

l l. .-"-tll repair bills and."‘or estimates

111 .i\ll rejection i’clms executed by Plaintif`t` rejecting either UIV|,/’Ull\/l coverage
und.-"ur Stuci<ing cu\~'emge.

13. All forms executh by Pluintil"li' accepting either UM!UI 1\'1 Cm-‘eragc ancl."cr
stacking coverage

]4. An;~" and all PIP ledger, payout sh€uts aud:‘r)r E-xpl:ma,tiun cl"Bc:nc'fits with regard
to Plaintifl‘s accident as described in the Cr)mplnim

in support m" this chuest |"0¢‘ Prnducticm, the Plaintift` would show that he is unable to
obtain thc materials without undue expense and hardship The articles are in the sole or
exclusive possession cf the Dei`cticlant, its agents or aitm'n_cys; and such items are necessary for

the Plaiimit`t` 10 properly prepare his casc.

Pagc 2 of 3

 

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I HF;RE'BY CER"[`II“'Y that a true and correct copy ot`thcz forcgoing has been served wilh

the Cum_plz\int herein

THE HOL.LANDER L.i\\~\." FIRM, P.A.
;»\tlcmiey.~; f`m" T’Eainlif`i`

TO!‘_`H) Wcst Palmctm Parlc Road, Suitc 500
Bucu Raton, Flon'da 33433

Phone: 561~34?-.7?'?0 ]~`ax: 56!~34?-9929
Plimar_\-': GhollandeT-L'cj§,'hc)llanderla\,'.»'l"mn.‘<:om
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GRE.GG M. £"I'ci)LL¢-L\T)ER
FLORID_.¢\ B.»\R Nci),: 9?3350

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l"N THE CIRCUIT COUR`I` l"()R. THE TWENTIETH JUDlCIAl. ClRCUIT IN AND FOR
L.E[£ COUN'I'Y, FLORIDA CIVIL ACTION

CASE NO; l 7-CA-001925
Arboleda, Diego
Plaintif`t`
vs
State Farm Autnmobile Insurance Compan}-'
Def`endant

 

STANDING ORDER IN CIVIL CASES IN THE TWENTIETH JUI)ICIAL CIRCUIT

Pl_lRSUANT to Florida Rule ol`Civil Proccdurc l.'l{)tl(a), Florida Rule of .ludicial
.Administration 2.545, and Administrative Order l.13 entered by the Chiet" Judge ot` this Circuit,
the parties are ordered to adhere to the following information and procedures applicable to civil
lawsuits:

l. SERVICE OF 'l`f-llS ORDER. The Plaintifl"is directed to serve a cop)r of this order
with each Summons issued in this ease. Onc copy of this Crder is to be filed with the Clerk of
the Circuit Court with proof of service The Plaintil`f shall payr the appropriate statutory clerk's
fees on copies for each Standing Order issued and attached to the Summons.

2. CIVIL CASE MANAGEMENT S\"STEM. Thc Supreme Court ol` Florida has
established guidelines for the prompt processing and resolution of civil cases. 'l`his Court has
adopted a case management system to help meet those guidelines In contested cases (other than
foreclosures, involuntary commitment of sexually violent predators and eminent domain cases),
the parties are required to participate in the case management system. The case management
system requires early consultation and cooperation among the parties for the preparation and
submission of`an Agrced Case Management Plan, earl),r interaction with a Civil Case Manager
and early involvement by the Court. The Agreed Case Management P|an requires the parties to
identify a case track, confer in a good faith attempt to narrow the matters in controversy, identify
the issues that require direct involvement b_v the Court, and establish a schedule f`or addressing
those issues1 'l`ltc A_greed Case l‘vlanagement Plan may be accessed at the Court’s website at:
[http:i'fwww.ea.cjisZO.org.~'web.t'main/civil.asp].

Unless all ofthe Dei`cndants have been served and have defaulted, an Agreed Case
Manag_ement Plan will be submitted to the Civil Case Manager, at the Lee County lustice Center,
l?t){l Monroe Street__ Fort 'Myers, FL 33901, on or before 150 days l`rom the date of filing ol` the
initial complaint lf the parties are unable to agree on an Agreed Case Managernent Plan, a case
management conference will be scheduled by the Court. lf a case management conference is
scheduled, attendance by trial counsel and those parties who arc not represented by counsel is
mandatory.

 

1 Case Track options include Expedited, Standard or Complex. Case Tracks have been established in order to
comply with the case disposition standards set forth in Florida Rule of Judicia| Administration 2.250(a)(1)(B}.

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3. ALTERNAT[VE DISPUTE RESULU'I`ION (ADR). ADR provides parties with an
out-ot`-c.ourt alternative to settling disagreements 'l`he Court requires the parties to participate in
ADR_ prior to trial. Mediation is mandatory unless the parties agree to another form ol`ADR.
Mediation is a conference at which an independent third party attempts to arrange a settlement
between the parties.

4. RULES OF PROFESSIONALISM. The Twentieth .'ludicial Cire-uit has adopted
Administrative Order 2.20, which sets forth standards of professional courtesy and conduct for
all counsel or pro-se litigants practicing within the Circuit. The Court requires that all
familiarize themselves and comply \M'th Administrati\»'e Order 2.20, Adm_inistrative Order 2.20
may be viewed on the Courl’.s; website al: http:.-","x\w“v.co.ciisZO.otai'wehfrnain-“ao admin.aso

5. CONTACT INFORMA'I`ION. Attorneys and pro se parties are required to keep the
court apprised of their current address, telephone numbers and cmail address. This information
is also required to be included in all pleadings filed in your case.

 

DONE. AND ORDERED in Charnbcrs at Fort Mycrs, liee County, Florida.

Alcme C. Laboda felectrorzicaII\-' signed
Administrative Circuit Judgc

**""*"‘Original on file in the office of the Circuit Court Admi_nistrative Judge, Lee County

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l.\" THE CIRCUIT COURT OF THE TW`ENTIETH JUDICIAL CIRCUIT
lN AND FOR LEE COL|NTY, li`l,ORll)A
Cl\"'_IL DlVISlON
DIEGO .#‘lRB('_)LED;»\w
P[aintil`t`__

\-‘_ CASE NOZ l?-CA-OO[C)ES

S'|`ATE F.'~'\RM l\»'lU"l`UAl,. l'~\l_lTOl\‘lOBll,,l;".
INSURANCE COMPAN`¥"

Def`endant.

 

MO'I"|()N F`()R EX"|`ENSION OF "I`I[$'|E "l"O RES|’ON[) 'l" 0 l"LAlN‘['lFF’S COl\'l'l’LAlN"l`

COMES NOW, Det`endant, STATE FAR.I\"I MUTUAL AUTOMOBILE lNSURANCE
COMP.'~\N'Y', by and through undersigned eounsel. and pursuant to Fla. R,. Civ. P_ 1_090~ hereby
moves t`or an extension ot` time to respond to Plaintit`t"s Comp|ainL and states:

l. Det"endant was served with Plaintii`t`"s Complaint on .lune 22` 201'.~’.

.r~»

Det`endanl requires additional time lo l"orn'iulate its response to Plainlil"l“'s Colnp|ainl.

'-_»J

Therol"ore.1 Del`endant moves t`or a reasonable extension ol" time to respond to Plaintit`t"s
Complaint.
Vt"lrlEREl*`ORE` l')et`endant respectfully requests that this Court grant this Motion and

extend the time in which Det`endant must respond to Plaintit`r"s Complaint.

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CERT|FICATE OF SERVICE
l H E~REBY CER'I`IFY that a true and accurate copy ot` the foregoing was served via
Florida E-Portal Service and Entail to:

Gregg M. Hollander, Esq.

Florida Bar No. 9?3.`>50

THE HOLLANDER LAW F[RM._ P.A`
'.FUUU W. Palntetto Park Rd.` Suite 500
Boca R.aton_ Fl_, 33433

Telephone: (561] 347-?7?0

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i"s. .4¢!¢1!1) C. _She/ron

.e\tlam C. Slielton_. Esq.

Flol'ide Bar Noi 572578

Kendal| O. Pt`cit’cr, Esq.

Florida Bar No: l(}.‘§»-t":l:`\

SHELTON l\¢'lCKE!-\N

9'}`00 ch St_ N., Suite 400

St. Petersburg FL 33',"02

Telepl'lone: (')'2?) 3 16-633

Fa?<; (7`2?_) 316~6363

E-mail: sel'~.-'ice-asheltoni?i`.`esheltonmckean.cont
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